AO 91 (Rev. 02/09) Crimina£ Cornplaint

 

UNITED STATES DisTRiCT CoURT

for the
District of Ai‘izona

 

(7\ United States of Arnerica

 

)
v. ) '
Martin Patino-Alvarez, ) Case NO. §§ »/?i §§ M j
A216 384 914 )
Defendant )
- )
CRiMINAL CoMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of May 15, 2018, in the County of Pinal, in the Distl'ict of Arizona, the
defendant violated Title 8§ U.S.C. § 1326(a), a felony, and Title 8, U.S.C. § 1325(21)(2), a class B
misdemeanor, an offense desclibed as folloWs:

See Attachment A Incol'porated By Reference Herein

I further State that I am a Border Patrol agent With U.S. Customs and Border Ptotection.

This criminal complaint is based on these facts:

See Attached Statement of Probable Cause Incorporated By Reference Herein

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REVIEWED BY: Charles E. Bailey, P.S. for AUSA Brandon Brown

Continued on the attached sheet

 

 

Complm'rm)zt ’s signalling
Jacob A. Ca_rpenter
U.S. Border Patrol Agent

` Pri'n'fea' name and title

SWorn to before me and Signed in my presence

Date: May 16, 2018

 

Bndget S Bflde . ;1.="\ `
City and state: Phoenix, Arizona United States Magistrate Judge

Prinfed name and rifle

 

ATTACHMENT A
Count l
On or about l\/[ay 15, 2018, Martin Patino-Alvarez, an alien, Was found in the
United States of America at or near Casa Grande, in the District of Arizona, after having
been previously denied admission, exoluded, deported,‘ and removed from the United
States at or near Nogales, Arizona, on or about April 21, 2018, and not having obtained
the express consent of the Secretary of the Departrnent of Homeland Security to reapply
for admission thereto; in violation of Title 8, United States Code, Section 1326(a), a
felony.
Count 2
On or about May 15, ZOlS,at or near Casa Grande, in the District of Arizona,
Martin Patino-Alvarez,- an alien, did elude the examination or inspection by immigration
officers in violation of Title 8, United States Code, Section 1325(a)(2), a class B

misdemeanor.

 

STATEMENT OF PROBABLE CAUSE

l, Jacob A. Carpenter, being duly sworn, hereby depose and state as follows:
1. Your affiant is a United States Border Patrol agent l have learned from direct
participation in the investigation and from the reports and communications of other

agents and officers the facts recited herein.

2. On May 15, 2018, Border Patrol Agent C. Halaby encountered an individual near Casa

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Grande, in the District of Arizona. The agent identified himself as a Border Patrol

 

agent and performed an immigration inspection on the individual The individual,

 

later identified as Martin Patino~AlvareZ, admitted to being a citizen and national of a
country other than the United States, unlawfully present in the United States. Patino-
Alvarez Was transported to the Casa Grande Border Patrol Station for further
processing Patino~Alvarez Was held in administrative custody until his identity could

be confirmed along With his immigration and criminal history.

3. .Immigration history checks revealed Martin Patino-Alvarez to be a citizen of Mexico
and a previously deported alien. Patino-Alvarez Was removed from the United States
to l\/Iexico through Nogales, Arizona, on or about April 21, 2018, pursuant to a
removal order issued by an immigration official. There is no record of Martin Patino-

Alvarez in any Department of Homeland Security database to suggest that he obtained
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permission from the Secretary of the Department of Homeland Security to return to

the United States after his removal.

. Fuithermore, there is no record of Martin Patino-Alvarez in any Department of
Homeland Security database to suggest that after his last removal from the United
States he entered the United States at an official Port of Entry. Had Patino~AlvareZ
presented himself at a Port of Entry, Department of Homeland Security records likely
would reveal that information Accordingly, your affiant believes that Martin Patino-
-‘ Alvarez entered the United States at a location not designated as an official Port of
Entry, and thereby eluded examination and inspection by Immigration Officers of the
United States. Patino-Alvarez’s immigration history was matched to him by

electronic fingerprint comparison

. On May 16, 2018, Martin Patino-Alvarez was advised of his constitutional rights.
Patino-Alva`rez freely and willingly acknowledged his rights and declined to provide a

statement under oath.

. For these reasons, this affiant submits that there is probable cause to believe that on or
about May 15, 2018, Martin Patino-Alvarez, an alien, was found inthe United States
of America at or near Casa Grande, in the District of Arizona, after having been

previously denied admission, excluded, deported, and removed from the United States

 

at or near Nogales, Arizona, on or about April 21, 2018, and not having obtained the
express consent of the Secretary of the Department of Homeland Security to reapply
for admission thereto; in violation of Title 8, United States Code, Section l326(a), a
felony, and on or about May 15, 2018, at or near Casa Grande, in the District of
Arizona, Martin Patino~Alvarez, an alien, did elude the examination or inspection by
immigration officers in violation of Title 8, United States Code, Section 1325(a)(2), a

class B misdemeanor.

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Jacob A. Caipenter `r-\
U.S. Border Patrol Agent

Sworn to and subscribed before me
this 16th day of May, 2018.

    
  

ssa 6 s
United States Magistrate Judge

    

 

 

